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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


COLBEY WORKMAN,                                   §                  SA-18cv-555
                    Plaint                        §
                                                  §                  SA-19-CV-01481-XR
v.                                                §
                                                  §
THE UNITED STATES OF AMERICA,                     §
             Defendant.                           §
                                                  §




                                              !M1 I]   JI



         On this day, the Court considered the status of this case. Federal Rule of Civil Procedure

42(a) provides that if actions "involve a common question of law or fact," the court may

"consolidate the actions" or "issue any other order to avoid unnecessary cost or delay."   FED.   R.

Civ.   P. 42(a).   The decision to consolidate actions under Rule 42(a) is "entirely within the

discretion of the district court as it seeks to promote the administration of justice." Gentry    v.


Smith, 487 F.2d 571, 581 (5th Cir. 1973).

         Many cases stemming from the Sutherland Springs shooting of November 5, 2017 have

already been consolidated, with 5:18-CV-555-XR being the lead case, because they share

common questions of law and fact. This case shares the same common questions of law and fact

as the consolidated cases. Accordingly, it is ORDERED that this case, 5:19-CV-1481-XR, is

consolidated with the lead case, 5:18-CV-555-XR.

         It isso ORDERED.

         SIGNED this 6th day of January, 2020.




                                      XAVIER RODRIGUEZ
                                      UNITED STATES DISTRICT JUDGE
